
The President.
As to the first objection, there is no doubt, but that the answer in this case must be considered as being perfectly true. But the counsel mistakes, uhen he supposes that the payments insisted upon in the answer have not been allowed. All of them are, except a credit of wheat, the price of W'hich the defendant could not ascertain, and perhaps did not, for that, or for some other reason, bring before the Commissioners.
The third objection is, that the decree is for more than the balance stated to be due by the report, and that too, with accumulated interest. But it does not appear, that the interest upon interest amounts to a greatér sum, than that, for which a deduction is made by consent of parties, on account of miscalculation of *207interest. As to the principal sum, it does hy'fio means appear, that the decree is for more than tie report makes it 1
The decree therefore must be affirmsd.*,(1)

 The Court took no notice of the other objections.


 Roberts’s Widow et. al. v. Stanton, 2 Munf. 129. Picket et. ux. v. Chilton, 5 Munf. 467.

